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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF MICHIGAN

EMANI LOVE, et al.,                     NO. 2:15-cv-11834

      Plaintiffs,                       HON. NANCY EDMUNDS

v                                       MAG. ELIZABETH A. STAFFORD

SECRETARY OF STATE RUTH                     DEFENDANT SECRETARY OF
JOHNSON,                                     STATE RUTH JOHNSON’S
                                                COURT-ORDERED
      Defendant.                              SUPPLEMENTAL BRIEF

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    DEFENDANT SECRETARY OF STATE RUTH JOHNSON’S
        COURT-ORDERED SUPPLEMENTAL BRIEF

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      [Defense Counsel] Q: Do you have any intention to change the
      current 2016 policy regarding the change of sex designation
      on Michigan driver's licenses or state IDs?

      [Secretary of State Johnson] A: None. (Ex. C, p 63 ln 19-23).

      Defendant Ruth Johnson has moved for judgment on the

pleadings on grounds of mootness, based upon a March 2016 policy

update that allows each of the Plaintiffs to change the sex designation

of their drivers’ license (DL) or Personal Identification (PID) card by

simply presenting a passport or a passport card, or a court order issued

by a court of competent jurisdiction, or an amended birth certificate. (R.

48, Mot. for Judgment, ID# 454-466). The Secretary has provided a

signed affidavit stating that she relied upon the recommendation of

Michael Wartella in approving both the current 2016 policy and the

earlier 2011 policy upon which Plaintiffs based their claims. (Ex. A,

Johnson Aff., ¶3). Secretary Johnson also stated that she has

“absolutely no intention” of changing the policy again. (Ex. A, ¶4).

      Mr. Wartella has also testified that the 2016 policy change was his

decision, and that he does not intend to change the policy again. (Ex. B,

Wartella Dep., p 52 ln 12-p 54 ln 9). In short, the Secretary relies on




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Mr. Wartella’s recommendation, and neither Mr. Wartella nor the

Secretary have any intention of reverting to the prior policy.

      On Friday, June 10, 2016, the Plaintiffs took the deposition of

Secretary Johnson. Plaintiffs have argued that an e-mail that they

refer to as a “campaign promise” somehow influenced department policy

for DL/PID, and that such statements indicate that the Secretary will

revert back to the 2011 policy given an opportunity (See e.g. R. 54,

Response to Mot. for Prot. Order, ID# 529). But during Secretary

Johnson’s deposition, it became clear that Plaintiffs’ theory about a

connection between the statements and the 2011 Driver’s License Policy

is simply wrong:

      Q: Did you see this e-mail and respond to it in 2010?

      A: I did not.

      Q: Who did?

      A: I had a number of people that worked on the campaign.
      Someone from the campaign, it appears, did respond.

                                *    *     *

      Q: And did those people who worked on your campaign talk
      to you about your positions before responding?

      A: No.

(Ex. C, Johnson Dep, p 16 ln 13-p 17 ln 5).


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      Q: So what -- I'm sorry. What was your campaign
      position, then, with respect to changing the gender on
      a license?

      A: I did not have one.

(Ex. C, p 24 ln 1-22). [Emphasis added]. The Secretary later reiterated

that, once elected, she relied on Mr. Wartella’s expertise in this area:

      A: When I came into office, we kept [the then-existing
      surgical requirement]. I rely on Mike Wartella to make
      recommendations. He's the expert.

      Q: Okay, but as I understand it, it was your decision to keep
      that.

      A: It was Mike Wartella's decision and I did agree to it.

(Ex. C, p 24 ln 1-22).

      So, Plaintiffs’ entire theory that the 2011 policy was motivated

by—or was an implementation of—some “campaign promise” has

crumbled to dust. The Secretary did not make the statement, she was

not consulted about the statement, and she did not have a campaign

position on changing gender on licenses. The campaign statement did

not represent her position and it could not, therefore, be the basis for

her approving the 2011 policy.1 Instead, she relied on Mr. Wartella.


1 “The change came about—by me—that we were trying to take the
medical information out of the branch office transaction. We wanted a
legal document that showed that a sex change had occurred. We were
trying to also protect the privacy of customers so they wouldn’t have to
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      In addition, the Secretary again made clear that she has no

intention of changing this policy again:

      Q: Do you have any intention to change the current 2016
      policy regarding the change of sex designation on Michigan
      driver's licenses or state IDs?

      A: None.

(Ex. C, p 63 ln 19-23). Simply stated, the 2011 policy upon which

Plaintiffs based their complaint is gone and is not coming back.

      Plaintiffs have elsewhere argued that the updated policy does not

address non-citizens who cannot obtain a U.S. passport. But all the

Plaintiffs are citizens, and this is not a class action. Also, each of the

Plaintiffs has admitted that they are legally eligible to obtain a passport

(or already have one), and thus they lack standing to raise issues on

behalf of non-citizens. Each plaintiff, through Requests for Admission,

has indicated that they either already possess or are eligible to obtain a

passport or passport card, and they are aware that they may now use

these documents to change the sex on their Michigan DL/ID. Indeed, in

their depositions, Plaintiffs A.M. and Tina Seitz admitted that they can


provide medical information at the counter and we were trying to
simplify, for staff, that it was a legal document that could be used for
any time we needed to make a correction to the sex designation on a
driver’s license.” (Ex. B, Wartella Dep., p 24 ln 12-21).
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change their DL/IDs today, but are refusing to do so. (Ex. D, A.M. Dep.,

p 38 ln 12-p 41 ln 9; Ex. E, Seitz dep, p 53 ln 20-24). Whatever their

motivations for abstaining from the relief they sought in this lawsuit—

i.e. changing the sex designation on their state ID to avoid threats of

harm or the revelation of personal information—it is clear that all the

plaintiffs have this remedy available to them. The prayer for relief

enjoining the enforcement of the challenged 2011 policy is moot because

that policy has been abandoned, and it is absolutely clear that it could

not be reasonably expected to recur. Friends of the Earth, Inc. v.

Laidlaw Envtl Servs (TOC) Inc., 528 U.S. 167, 189 (2000).

               CONCLUSION AND RELIEF SOUGHT

      For these reasons and the reasons set forth in the earlier briefing

and at oral argument, Defendant requests that this Court grant her

Motion for Judgment on the Pleadings and dismiss Plaintiffs’ complaint

with prejudice.

                                   BILL SCHUETTE
                                   Attorney General

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Dated: June 24, 2016                State Ruth Johnson


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                     CERTIFICATE OF SERVICE

      I hereby certify that on June 24, 2016, I electronically filed the

foregoing paper with the Clerk of the Court using the ECF system

which will send notification of such filing of the foregoing document as

well as via U.S. Mail to all non-ECF participants.

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